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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                          ) Chapter 11
                                                )
W.R. GRACE & CO., et al.,                       ) Case No. 01-01139 (JKF)
                                                )
                 Debtors.                       ) Jointly Administered
                                                )
                                                )

                                CERTIFICATE OF SERVICE

            I, Mark T. Hurford, of Campbell & Levine, LLC, hereby certify that on August 1,

2011, I caused a copy of the foregoing to be served upon the Notice Parties in accordance

with the Amended Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing

Revised Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Official Committee Members [Docket No. 1949].



                                                       /s/Mark T. Hurford
                                                       Mark T. Hurford (No. 3299)

Dated: August 1, 2011




{D0209209.1 }
